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                  IN THE UNITED STATES DISTRICT COURT
              NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION

IN RE: Larry Rhein                              )      Case No.
                                                )
                                                )
      Plaintiff                                 )      COMPLAINT
                                                )
                                                )      Judge:
                                                )
                                                )      Magistrate:
v.                                              )      July Demand Requested
                                                )
      ARS National Services, Inc.               )
      201 West Grand Ave.                       )
      Escondido, CA 92025                       )
                                                )
                                                )
      Defendant                                 )
______________________________________________________________________
   Now comes Plaintiff, by and through his attorneys, and, for his Complaint alleges as
                                        follows:

                                        INTRODUCTION

             1. Plaintiff, Larry Rhein, brings this action to secure redress from unlawful
                collection practices engaged in by Defendant, ARS National Services,
                Inc.. Plaintiff alleges violation of the Fair Debt Collection Practices Act,
                15 U.S.C. Section 1692 et seq. (“FDCPA”).
             2. The FDCPA broadly prohibits any false, misleading or deceptive
                threats in connection with the collection of a debt 15 U.S.C. Section
                1692e
             3. A debt collection may not imply outcomes that are not legally able to
                come to pass. Lox v. CDA, Ltd., 689 F.3d 818, 825 (7th Cir. 2012)
             4. The Seventh Circuit has stated that "[w]hen language in a debt
                collection letter can reasonably be interpreted to imply that the debt
                collector will take action it has no intention or ability to undertake, the
                debt collector that fails to clarify that ambiguity does so at its peril." Lox
                v. CDA, Ltd., 689 F.3d 818, 825 (7th Cir. 2012) (citing Gonzales
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          v. Arrow Financial Services,LLC, 660 F.3d 1055, 1063 (9th Cir. 2011)).
       5. In Wilder vs. J.C. Christensen & Associates, Inc. (Case No. 16-cv-
          1979) (N.D.IL 2016), the Court stated “literally true conditional
          language in a dunning letter can be deceptive if the action suggested is
          legally prohibited.” Id.
       6. The Sixth Circuit Court of Appeals stated “[I]f Plaintiff can show that
          interest or charges could never accrue and therefore the balance owed
          is truly fixed, then his claim should be allowed to go forward to
          determine if, under those circumstances, Defendants’ letter was
          threatening or materially misleading.” Walker v. Shermeta, Adams,
          Von Allment, PC 623 F. App’x 764, 768 (6th Cir. 2015).
       7. Recently, the Seventh Circuit Court of Appeals stated that the “safe
          harbor” language given in Miller v. McCalla, Raymer Padrick, Cobb,
          Nichols, & Clark, LLC, 214 F.3d 872 (7th Cir. 2000) is not a defense to
          situations that can not legally come to pass. Recently, the Seventh
          Circuit Court of Appeals weighed into the statement in paragraph 24
          that it is not a protection to use this language when an outcome is
          being suggested that is impossible to come to pass. Boucher v. Fin.
          Sys. Of Green Bay, Inc., No. 17-2308, (7th Cir., 2018).
       8. In the same Opinion, the Seventh Circuit Court of Appeals stated that
          Debt Collectors must tailor boiler plate language to avoid ambiguity. Id.
          at 371.
       9. Moreover, the Court in Boucher stated that a Debt Collector is not
          entitled to safe harbor language if it provides inaccurate language.
          Spuhler vs. State Collection Services, Inc., 18-cv-01149, (E.D. Wis.
          2018).
       10. The Seventh Circuit Court of Appeals stated in Millver v. McCalla,
          Raymer, Padrick, Cobb, Nichols & Carlk, LLC., 214 F.3d 872, 875 (7th
          Cir. 2000), that the FDCPA requires a debt collector to state “the
          amount of the debt” that they are trying to collect.
       11. The Court in Miller spelled out safe harbor language for collecting
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          debts that are accuring interest or other fees after the date of the initial
          dunning letter. Id.
       12. Following Miller, the Seventh Circuit Court of Appeals stated in
          Chuway v. Nat. Action Services, 362 F. 3d 944 (7th Cir. 2004), stated
          that if a Debt Collector is “trying to collect the listed balance plus the
          interest running on it or other charges, he should use the safe harbor
          language of Miller: As of the date of this letter, you owe $___[the exact
          amount due]. Because of interest, late charges, and other charges
          that may vary from day to day, the amount due on the day you pay
          may be greater. Hence, if you pay the amount shown above, an
          adjustment may be necessary after we receive your check, in which
          event we will inform you before depositing the check for collection For
          further information, write the undersigned or call 1-800-[phone
          number].” Id.


                      JURISDICTION AND VENUE
       13. This court has jurisdiction pursuant to 28 U.S.C. Section 1331, 1337,
          1367; and 15 U.S.C. section 1692(d).
       14. Venue is proper because a substantial part of the events giving rise to
          this claim occurred in this District.


                              PARTIES
       15. Plaintiff, Larry Rhein (hereinafter “Plaintiff”) incurred an obligation to
          pay money, the primary purpose of which was for personal, family, or
          household uses (the “Debt”).
       16. Plaintiff is a resident of the State of Illinois.
       17. Defendant, ARS National Services, Inc., (“Defendant”), is a California
          business entity with an address of 201 West Grand Ave., Escondido,
          CA 92025, operating as a collection agency, and is a “debt collector”
          as the term is defined by 15 U.S.C. Section 1692a(6).
       18. Unless otherwise stated herein, the term “Defendant” shall refer to
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          ARS National Services, Inc..
       19. At some point, the original creditor, transferred this debt to Defendant
          for debt collection.
                                    STANDING

       20. Plaintiff has suffered an injury in fact that is traceable to Defendant's
          conduct and that is likely to be redressed by a favorable decision in
          this matter.
       21. Specifically, Plaintiff suffered a concrete informational injury as a result
          of Defendant's failure to provide truthful information in connection with
          its attempt to collect an alleged debt from Plaintiff.

                                    ALLEGATIONS
       22. The Plaintiff allegedly incurred a financial obligation in the approximate
          amount of $27,957.73 (the “Debt”) to an original creditor (the
          “Creditor”)
       23. Specifically, Defendant co-signed for his daughter on the
          aforementioned debt and was personally liable for this amount from
          Creditor.
       24. The Debt was purchased, assigned or transferred to Defendant for
          collection, or Defendant was employed by the Creditor to collect to
          Debt.
       25. The Defendant attempted to collect the Debt and, as such, engaged in
          “communications” as defined in 15 U.S.C. Section 1692a(2).
       26. On November 15, 2019, Defendant mailed Plaintiff an initial collection
          letter. See Exhibit.
       27. Said letter stated the total balance as described in paragraph 19
          above. See Exhibit
       28. Said letter also stated the “Past Due Amount: $1,719.77.” See Exhibit
       29. Said letter’s opening statement stated “ARS is a national organization
          experienced in helping customers resolve their outstanding balances.
          LendingClub Corporation has placed your account referenced above
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          with ARS. We look forward to working with you to find a repayment
          plan that fits your budget.” See Exhibit.
                                     Impossible Outcomes
       30. Also, within the same letter, Defendant states “[A]s of the date of this
          letter, you owe $1,719.77. Because of interest, late fees, and other
          charges that may vary from day to day, the amount due on the day you
          pay may be greater and an adjustment may be necessary after we
          receive your payment.” See Exhibit.
       31. In fact, there is nothing in the agreement (or applicable law) that would
          allow Defendant or current creditor to charge “other charges” on
          Plaintiff’s account.
       32. Defendant is implying and suggesting outcomes that can not legally
          come to pass.
                                     Amount of Debt
       33. The Plaintiff incorporates by reference all of the above paragraphs of
          the Complaint as fully stated herein.
       34. As noted above, said letter lists the “Past Due Amount” of “$1719.77.”
          See Exhibit
       35. The opening paragraph said letter ended by stating “[O]nce your
          account is current, ARS will help you work with LendingClub
          Corporation in order to have your account returned to them for
          servicing.” See Exhibit.
       36. This letter is clear to Plaintiff that the only amount it is collecting on is
          the “Past Due Amount” not the entire debt.
       37. Yet, despite the fact that Defendant is only collecting on the “Past Due
          Amount,” nothing in the letter stated that the “Past Due Amount” was
          increasing due to interest and late fees.
VIOLATIONS OF THE FDCPA-15 U.S.C. SECTION 1692, et seq.
       38. The Plaintiff incorporates by reference all of the above paragraphs of
          this Complaint as though fully stated herein.
       39. The Defendants’ conduct violated 15 U.S.C. Section 1692e by
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          misleading Plaintiff by suggesting “other charges” that could not legally
          come to pass.
       40. The Defendant’s conduct violated 15 U.S.C. Section 1692g by failing to
          tell Plaintiff that the amount of the debt (the amount being collected on
          by Defendant) was increasing.
       41. Plaintiff is entitled to damages as a result of Defendant’s violations.
                                    JURY DEMAND
       42. Plaintiff demands a trial by jury.
                                    PRAYER FOR RELIEF
       43. Plaintiff demands the following relief:
       WHEREFORE, the Court should enter Judgment in favor of Plaintiff and
       against Defendant for:
                    (1) Statutory damages;

                     (2) Attorney fees, litigation expenses and costs of suit; and

                     (3) Such other and further relief as the Court deems proper.

                                                     Respectfully submitted,
                                                /s/ John Carlin__________________
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